Case 2:05-cr-20023-.]PI\/| Document 8 Filed 05/27/05 Page 1 of 2 Page|D %2

IN THE UNITED STA'I`ES DISTRICT COURT
FOR THE WESTERN DIS'I`RICT OF‘ 'I'ENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

 

Plaintiff,

_;?[`Q_LY~, (C( gist/ch

Criminal No. (£- QOOS;S Ml

(GO-Day Continuance)

 

 

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Defendant(s).

 

REPORT ON FUGITIVE STATUS A.N'D RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court Will be made on Fridav, Julv 22, 2005, at 10:30

B..m.

 

so oRDERED this 27th day of May, 2005.

QWOQQ

PHIPPS MCCALLA

 

Assisddnt United Stat s Att rney

T'nis document entered on the docket sheet in co pltanca

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UNITED sAsTE DISTRICT COURT - WESRTE DISTRICT TENNESSEE

   
   

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This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20023 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable J on McCalla
US DISTRICT COURT

